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                              EXHIBIT B
          Case 2:18-cv-03549-GRB-ST Document 39-2 Filed 03/01/19 Page 2 of 8 PageID #: 543
Sent:      Sun, 4 Nov 2012 15:18:31 -0500
Subject: Election Protection Plan
From:      Daniel Altschuler <daniel.altschuler@maketheroaclny.org>
To:        Ana Maria Archila <AnaMaria.Archila@maketheroaclny.org>
2012.11 AKnow Your Rights Election Dav.doc
Election Protection Memo.pdf
LJ Training, Part 1.pdf
LJ Training, Part 2.pdf

Dear All,
Below is a description of the election protection plan for our Long Island and NYC offices.

Monday
1. A l l legal team members w i l l attend a 5pm webinar organized by N Y C L U . Here is the call-in info: 866-866-2244, code:
1460813. Note that this webinar is geared towards people working with NYCLU's election protection effort, which includes poll site
visits. We're not doing the latter, but it should still provide useful information on election protection.
2. Organizers in charge of each site (DC, KCB, IL, and DA) should make sure that they have coverage for the phone line
from 6am - 9pm. This line should be kept clear for the day, though people who are answering these calls can be making
GOTV calls from another phone if call volume is low.
3. Everyone should review the attached files. These are just a few pages (much shorter than the poll worker manual I sent
last week), so this should really just take a few minutes to review.

Tuesday—Election Day
1. We will have one phone line at each site (LI, SI, and QNS) being answered from 6am - 9pm on Election Day for people
to call if they A) have a question or problem about voting or B) need a ride.
2. The person on the phone—who should be a fellow / organizer / trained volunteer—should answer the question if it's simple
(e.g., How can I find my poll site? What time are polls open?). If it's a legal question they can't answer, they should get the
legal team member on call at that site.
3. The legal team members on call at each site are the following: Sara C in Long Island; Aura Z in Queens; Sebastian S in
SI. You are all heros—thank you!
4. If our legal team members encounter questions they can't answer, they should contact NYCLU lawyers with greater
expertise who have agreed to be on call. These are Brooke Menschel (617-571-6376) and Amol Sinha (347-921-3155).
 Please only call these folks if you really need it, and don't give these phone numbers out, as they're personal cell numbers.

OK, I think that's all for now. If you haven't let me know if you can make the webinar yet, please do so ASAP.

Thanks again to all of you for your help,
Daniel


Daniel Altschuler
Coordinator, Long Island Civic Engagement Table
917-494-5922
Join Us: www.licivicengagement.org
Support Our Work: https://licivicengagement.nationbuilder.com/donate
Facebook: Long Island Civic Engagement Table
Twitter: (SUicivicengage
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  Memo

  To;            Phone Line Volunteers



  Re:            Election Day Script- Suffolk County Voter Complaint Line




  We are a non-partisan project. Do not express any favor or disfavor or opinion
  about the candidates or any party even if invited to "chat". It could be a trap for
 the unwary.

  Before handling the phone line, do review the Voter rights training materials - 4
  pages. Talk to me if you have questions.

  We need to take notes and record the caller's information on a template form.
  Keep each call to a limited time. If a call is particularly difficult and requires more
  investigation and possible advocacy, get the caller's name and phone info so we
  can call back from a different line or cell line.



  COMMON QUESTIONS AND ANSWERS

        1. Am I registered to vote?
     2. Where is the polling site that I should go to vote?


           Ask the voter to call




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        They can speak directly with the caller and check the websites to get the
       info. We need to keep the above 631- phone open for more serious
       matters.
                                                                                         *

    3. Voter complains poll worker could not find name on the official list.

                                        r

       Did the poll worker do a fair search of voter's name or was negligent?
       Did the vote relocate / move away from the last registered voter address?
       Failed to file updated address info?
          •   The voter can only vote in the same election district ED. To confirm
              the proper ED site, a voter must ask the site Coordinator to check
              electronic voter dbase based on the current address.


          •   If a voter has not voted consecutively for the last 2 federal elections,
              then the voter's name will likely be put on an "Inactive" list.
              Assuming, the voter still lives in the same election district or same
              address, she or he can "reactivate" and vote by Affidavit Ballot.



              If voter has voted i recent elections and has not changed home
              address, then ask to check to see the voter list again. If name is stiil
              not found, tell voter to call the above back-up phone number so that
              we can check whether he or she is actually registered and at the
              proper election district; or, have the voter insist on casting an
              Affidavit Ballot.


              Did voter already request and receive an absentee ballot in the mail?
              If so, the person cannot vote in-person UNLESS the absentee ballot
              vote is brought in and turned over, (Absentee ballot NOT cast)


              Ask if the voter was registered under maiden or married name.
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            •   Was the voter challenged by anyone about qualification to vote?
                If so, we may need to trouble-shoot.


     4, Voter ID Questions- we want to document this issue carefully to see if
        poll workers were properly trained or requiring too much ID.
            •   New York State voters do NOT need to present ANY ID (photo or
                non-photo); only to verify name, address and have signature
                compared with the voter list past signature(s) and info.


                Exception - if voter mailed in voter registration form after 2004 and
                did not include a copy of a photo ID, the voter list will have a
                notation that requires ID proof to verify the voter.




            *   Acceptable ID - valid UNEXPIRED NY State driver's license, state ID
                non-driver license, US passport, utility or phone bill, paystub,
                paycheck or other government issued paper. Voter's current address
                and full name can be pieced together.



  Three Key Election Day Documents

  The Official Paper Ballot (which has candidate names and voter marks circles to
  indicate choice); this will be fed in or scanned into another machine for counting.

  The Affidavit or Provisional Baliot (Sworn Declaration) for all situations where
  voter's name is not found, or qualification is being challenged, and, other
  disputes. There is no guarantee that this will be counted UNTIL the Board of
  Elections staff checks its records to see if voter was in fact eligible to vote and at
  what location.

  The Emergency Ballot used by the voter only when the normal voting machine is
  out of commission, being repaired etc.
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  Elderly and Disability Access

  Ordinarily, the public polling sites should have proper ramps for wheel chaired
  voters, and, easy physical access for all voters.

  A physically disabled voter who is visually impaired, deaf, or partially may decide
  to use the one dedicated electronic voting machine that serves the needs of the
  handicapped. Same machine should also have Spanish language assistance, too,
  for non-literate voters....

  Elderly, disabled and illiterate voters must be advised to affirmatively ask for
  assistance from the site Coordinator of Inspectors. (They will wear a button that
  identifies their title and names). If such a voter has brought someone inside to
  help the voter, it is OK, and should not be discouraged or denied such aide.

  Language Access

  All election materials and Board of Elections operations in Suffolk County must be
  available to assist Spanish-language voters. Remind callers to look for sample
  ballots and voter instructions on how to vote, how to use the machine, etc. which
  are supposed to be POSTED on the wall inside each polling site.

  In addition, Spanish speaking bilingual poll worker(s) must be available too. If not
  in compliance, take the info to document that failure.



  Serious Threats and Intimidation of Voter

  Please review the Checklist - Types of Ejection Day Problems in the training
  booklet. Speak to me or call me on my cell phone if I have stepped away from
  the office,

  A range of misconduct can occur in order to deprive a person of his or her vote.
  A first-time voter has to be given confidence to assert his or her right to vote.
  Machine breakdowns, rude or inhospitable poll workers, long lines or failure to
  supply enough paper ballots can frustrate voters, especially if delays are created
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         and a person is anxious to go to" work, etc. These situations increase the risk of a
         voter leaving without casting a vote.

         it is possible that some problems are caused by poor training or poor supervision
         of poll workers. However, we advise the coimplamantifco be calm and to take
         down information. If there is no fault or falling on the part of the voter, then
         always advise that the voter insist oq,voting by cdfnpleting an Affidavit Ballot.

         The Board of Elections is required to notify the voter after the election as to what
         happened - whether vote was counted or not.

         Were police officers inside the polling sit'e? ^p weIcnow why? Was there anyone
         announcing improper information about voter 1-6 rules or other wrong
         information to confuse a vpter?


                                               *       •   i   -
         Voters Being Challenged

         A challenger must also be a registeret^voter^nd complete a sworn declaration
         stating the reasons why he challengec| voter is not qualified to vote. Make sure
         the voter who is being challenged demand^ and completes the Affidavit Ballot on-
         Sije.

         The site CboFcTmator or Inspector Will deal with these issues. Several legal reasons
         under law can be used to challenge a voter. See training booklet.

         THINK - tsitariindividual   cose? Could this be evidence of a vote suppression
         dampaign? Is trfere cupatterji of voters being challenged or intimidated at this
         polling site? Denied the Vote? Does it appear fftat cerfSin%inds of voters are being
         targeted? Ask the complainant if this felection precinct / area hold a high number
         of minority, elderly, and immig'ranf voters.              ,   •                f

                         »*                •       i


         Other Voter Issues to be discussed / Reality- based Analysis


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